Case 5:21-cv-00844-XR Document 748-6 Filed 09/02/23 Page 1 of 10




                Exhibit 5
                                Case 5:21-cv-00844-XR Document 748-6 Filed 09/02/23 Page 2 of 10
Table: DECENNIALPL2020.P4


  HISPANIC OR LATINO, AND NOT HISPANIC OR LATINO BY RACE FOR THE POPULATION
                              18 YEARS AND OVER

Note: The table shown may have been modified by user selections. Some information may be missing.

DATA NOTES
TABLE ID:                     P4
SURVEY/PROGRAM:               Decennial Census
VINTAGE:                      2020
DATASET:                      DECENNIALPL2020
PRODUCT:                      DEC Redistricting Data (PL 94‐171)
UNIVERSE:                     Total population 18 years and over
FTP URL:                      https://www2.census.gov/programs‐surveys/decennial/2020/data/

API URL:                      https://api.census.gov/data/2020/dec/pl

USER SELECTIONS
TABLES                        P4
GEOS                          Texas

EXCLUDED COLUMNS              None

APPLIED FILTERS               None

APPLIED SORTS                 None

PIVOT & GROUPING
PIVOT COLUMNS                 None
PIVOT MODE                    Off
ROW GROUPS                    None
VALUE COLUMNS                 None

WEB ADDRESS                   https://data.census.gov/table?q=P4:+RACE+FOR+THE+POPULATION+18+YEARS+AND+OVER&g=040XX00US48&tid=DECENNI
                              ALPL2020.P4




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                                Case 5:21-cv-00844-XR Document 748-6 Filed 09/02/23 Page 3 of 10
Table: DECENNIALPL2020.P4


TABLE NOTES                   Note: For information on data collection, confidentiality protection, nonsampling error, and definitions, see 2020 Census
                              Redistricting Data (Public Law 94‐171) Summary File Technical Documentation.

                              For information on the statistical methods used to protect confidentiality in these tables, see Disclosure Avoidance and the
                              2020 Census.
                              Source: U.S. Census Bureau, 2020 Census Redistricting Data (Public Law 94‐171)


COLUMN NOTES                  None




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                               Case 5:21-cv-00844-XR Document 748-6 Filed 09/02/23 Page 4 of 10
Table: DECENNIALPL2020.P4


  Label                               Texas
Total:                              21,866,700
 Hispanic or Latino                 7,907,319
 Not Hispanic or Latino:            13,959,381
   Population of one race:          13,383,911
     White alone                    9,437,993

     Black or African American alone 2,575,257
     American Indian and Alaska
     Native alone                    67,248
     Asian alone                     1,205,578
     Native Hawaiian and Other
     Pacific Islander alone          20,144
     Some Other Race alone           77,691

   Population of two or more races: 575,470
    Population of two races:        545,646
      White; Black or African
      American                      85,987
      White; American Indian and
      Alaska Native                 210,345
      White; Asian                  83,866
      White; Native Hawaiian and
      Other Pacific Islander        5,969
      White; Some Other Race        104,449
      Black or African American;
      American Indian and Alaska
      Native                        17,523
      Black or African American;
      Asian                         9,236
      Black or African American;
      Native Hawaiian and Other
      Pacific Islander              1,884


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                               Case 5:21-cv-00844-XR Document 748-6 Filed 09/02/23 Page 5 of 10
Table: DECENNIALPL2020.P4


  Label                               Texas
      Black or African American;
      Some Other Race                13,150
      American Indian and Alaska
      Native; Asian                  1,464
      American Indian and Alaska
      Native; Native Hawaiian and
      Other Pacific Islander         233
      American Indian and Alaska
      Native; Some Other Race        691
      Asian; Native Hawaiian and
      Other Pacific Islander         8,021
      Asian; Some Other Race         2,584
      Native Hawaiian and Other
      Pacific Islander; Some Other
      Race                           244
     Population of three races:      26,828
      White; Black or African
      American; American Indian
      and Alaska Native              11,855
      White; Black or African
      American; Asian                2,677
      White; Black or African
      American; Native Hawaiian
      and Other Pacific Islander     328
      White; Black or African
      American; Some Other Race      2,628
      White; American Indian and
      Alaska Native; Asian           2,340
      White; American Indian and
      Alaska Native; Native
      Hawaiian and Other Pacific
      Islander                       381


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                               Case 5:21-cv-00844-XR Document 748-6 Filed 09/02/23 Page 6 of 10
Table: DECENNIALPL2020.P4


  Label                               Texas
      White; American Indian and
      Alaska Native; Some Other
      Race                           1,169
      White; Asian; Native
      Hawaiian and Other Pacific
      Islander                       3,019
      White; Asian; Some Other
      Race                           684
      White; Native Hawaiian and
      Other Pacific Islander; Some
      Other Race                     78
      Black or African American;
      American Indian and Alaska
      Native; Asian                  388
      Black or African American;
      American Indian and Alaska
      Native; Native Hawaiian and
      Other Pacific Islander         68
      Black or African American;
      American Indian and Alaska
      Native; Some Other Race        442
      Black or African American;
      Asian; Native Hawaiian and
      Other Pacific Islander         367
      Black or African American;
      Asian; Some Other Race         198
      Black or African American;
      Native Hawaiian and Other
      Pacific Islander; Some Other
      Race                           51




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                               Case 5:21-cv-00844-XR Document 748-6 Filed 09/02/23 Page 7 of 10
Table: DECENNIALPL2020.P4


  Label                               Texas
      American Indian and Alaska
      Native; Asian; Native
      Hawaiian and Other Pacific
      Islander                       39
      American Indian and Alaska
      Native; Asian; Some Other
      Race                           16
      American Indian and Alaska
      Native; Native Hawaiian and
      Other Pacific Islander; Some
      Other Race                     10
      Asian; Native Hawaiian and
      Other Pacific Islander; Some
      Other Race                     90
     Population of four races:       2,524
      White; Black or African
      American; American Indian
      and Alaska Native; Asian       937
      White; Black or African
      American; American Indian
      and Alaska Native; Native
      Hawaiian and Other Pacific
      Islander                       113
      White; Black or African
      American; American Indian
      and Alaska Native; Some
      Other Race                     707
      White; Black or African
      American; Asian; Native
      Hawaiian and Other Pacific
      Islander                       169




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                               Case 5:21-cv-00844-XR Document 748-6 Filed 09/02/23 Page 8 of 10
Table: DECENNIALPL2020.P4


  Label                              Texas
      White; Black or African
      American; Asian; Some Other
      Race                         151
      White; Black or African
      American; Native Hawaiian
      and Other Pacific Islander;
      Some Other Race              18
      White; American Indian and
      Alaska Native; Asian; Native
      Hawaiian and Other Pacific
      Islander                     230
      White; American Indian and
      Alaska Native; Asian; Some
      Other Race                   54
      White; American Indian and
      Alaska Native; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race    2
      White; Asian; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race    47
      Black or African American;
      American Indian and Alaska
      Native; Asian; Native
      Hawaiian and Other Pacific
      Islander                     49
      Black or African American;
      American Indian and Alaska
      Native; Asian; Some Other
      Race                         18




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                               Case 5:21-cv-00844-XR Document 748-6 Filed 09/02/23 Page 9 of 10
Table: DECENNIALPL2020.P4


  Label                                  Texas
      Black or African American;
      American Indian and Alaska
      Native; Native Hawaiian and
      Other Pacific Islander; Some
      Other Race                     2
      Black or African American;
      Asian; Native Hawaiian and
      Other Pacific Islander; Some
      Other Race                     27
      American Indian and Alaska
      Native; Asian; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race      0
     Population of five races:       424
      White; Black or African
      American; American Indian
      and Alaska Native; Asian;
      Native Hawaiian and Other
      Pacific Islander               224
      White; Black or African
      American; American Indian
      and Alaska Native; Asian;
      Some Other Race                150
      White; Black or African
      American; American Indian
      and Alaska Native; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race      19
      White; Black or African
      American; Asian; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race      13


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                               Case 5:21-cv-00844-XR Document 748-6 Filed 09/02/23 Page 10 of 10
Table: DECENNIALPL2020.P4


  Label                               Texas
      White; American Indian and
      Alaska Native; Asian; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race      12
      Black or African American;
      American Indian and Alaska
      Native; Asian; Native
      Hawaiian and Other Pacific
      Islander; Some Other Race      6
     Population of six races:        48
      White; Black or African
      American; American Indian
      and Alaska Native; Asian;
      Native Hawaiian and Other
      Pacific Islander; Some Other
      Race                           48




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